            Case 2:20-cv-00137-RSL Document 13 Filed 03/20/20 Page 1 of 5



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 2                                                    The Honorable James L. Robart

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 6                       UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON - SEATTLE
 7

 8    INSOMNIAC HOLDINGS, LLC, a Delaware           NO. 2:20-cv-00137
      Limited Liability Company,
 9                                                  DEFENDANTS’ MOTION TO
                                       Plaintiff,   STAY DISTRICT COURT
10                                                  PROCEEDINGS RE:
                           v.
11                                                  CORONAVIRUS (COVID-19)
      CONSCIOUS ENTERTAINMENT GROUP,
12    LLC d/b/a USC Events, a Washington            Noted for Consideration:
      Limited Liability Company, and CHAD           March 27, 2020
13    ANDERSON, an individual,

14                                  Defendants.

15
                                 TABLE OF CONTENTS
16
      I.     RELIEF REQUESTED……………………………………………………………2
17
      II.    ARGUMENT……………………………………………………………………….3
18
     III.    CONCLUSION……………………………………………………………………..4
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25   REQUEST TO STAY - 1
          Case 2:20-cv-00137-RSL Document 13 Filed 03/20/20 Page 2 of 5



 1

 2                                  I. RELIEF REQUESTED

 3         Defendants hereby move the Court to stay District Court proceedings in this

 4   case until the emergency orders issued by this Court have been lifted and/or

 5   modified, or April 15, 2020, whichever is sooner.

 6         Due to the emergency health restrictions on in-person contact and travel,

 7   Defendants’ counsel is unable to conduct an in-person meeting with Mr. Anderson,

 8   his accountant, his CPA, counsel’s certified fraud examiner, or his consulting expert

 9   in this case. See Declaration of Alex Thomason, 3/20/2020, Exhibit 1 hereto. The

10   undersigned counsel was retained on March 6, 2020, and on the same day, filed for

11   an extension to answer the Complaint until March 20, 2020. Counsel needed time to

12   meet with the Defendant and confer prior to filing a responsive pleading. In-person

13   meetings are necessary to examine a variety of documents rendering telephonic

14   conferences ineffective. See id.

15         Due to the health restrictions in place, Defendants’ counsel is unable to

16   advise regarding mandatory counterclaims that are required to be filed on the initial

17   Answer pursuant to FRCP 13. In addition, counsel and his staff have six immediate,

18   local family members who are particularly vulnerable to COVID-19 and have been

19   undergoing brain surgery, chemotherapy, radiation therapy, and suffering from heart

20   conditions (see “Danica the Brave” Facebook page for one such example). This has

21   affected 100% of counsel’s office and counsel is operating on a “skeleton crew” due

22   to quarantining of staff and their children, and upon information and belief,

23   mandatory health measures will require a complete office shutdown. See id.

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25   REQUEST TO STAY - 2
          Case 2:20-cv-00137-RSL Document 13 Filed 03/20/20 Page 3 of 5



 1                                         II. ARGUMENT.

 2          “The District Court has broad discretion to stay proceedings as an incident to

 3   its power to control its own docket.” (Clinton v. Jones, 520 U.S. 681, 706 (1997).

 4   That power applies “especially in cases of extraordinary public moment,” when “a

 5   plaintiff may be required to submit to delay not immoderate in extent and not

 6   oppressive in its consequences if the public welfare or convenience will be

 7   promoted.” (id. at 707). The Ninth Circuit has described various factors that should

 8   be considered when evaluating a motion to stay:

 9          Where it is porposed that a pending proceeding be stayed, the
            competing interest which will be affected by the granting or refusal to
10          grant a stay must be weighed. Among these competing interests are the
            possible damage which may result from the granting if a stay, the
11          hardship or inequity which a party may suffer in being required to go
            forward, and the orderly course of justice measured in terms of the
12          simplifying or complicating of issues, proof, and questions of law which
            could be expected to result from a stay.
13
     CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th cir. 1962). The Defendant will suffer
14
     tremendous hardship if he is unable to meet with his own counsel due to State and
15
     Federal travel and health restrictions. This dispute concerns a breach of contract for
16
     several million dollars, the facts of which are disputed. The Complaint seeks
17
     injunctive relief that would immediately and irreparably damage and destroy the
18
     Defendants’ business, if granted. The Defendants intend to vigorously defend this
19
     Complaint, but cannot do so due to circumstances outside of their control; namely,
20
     this dramatic public health crisis.
21
            The Defendants cannot respond to discovery requests without meeting with
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     their counsel and experts. In effect, the public health crisis we now face has vitiated
23
     the Defendants’ ability to participate in this matter.
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25   REQUEST TO STAY - 3
          Case 2:20-cv-00137-RSL Document 13 Filed 03/20/20 Page 4 of 5



 1                                  III.   CONCLUSION.

 2         In the words of Thomas S. Hixson, United States Magistrate for the Northern

 3   District of California, “These are extraordinary times. The novel coronavirus that

 4   began in Wuhan, China, is now a pandemic. The nine counties in the San Francisco

 5   Bay Area have imposed shelter-in-place orders in an effort to slow the spread of the

 6   contagion. This Court has temporarily halted jury trials, even in criminal cases, and

 7   barred the public from courthouses.” In the Matter of the Extradition of Alejandro

 8   Toledo Manrique, U.S. District Court, N.D. California 19-mj-71055-MAG-1 (TSH).

 9         The Court should enter a stay in this matter until the emergency orders issued

10   by this Court have been lifted and/or modified, or April 15, 2020, whichever is

11   sooner.

12

13         DATED this 20th day of March, 2020

14                                                  VALOR LAW GROUP, PS

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16
                                                    ALEX THOMASON, WSBA #35975
17                                                  Attorney for Defendants

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25   REQUEST TO STAY - 4
         Case 2:20-cv-00137-RSL Document 13 Filed 03/20/20 Page 5 of 5



 1                              CERTIFICATE OF SERVICE

 2         The undersigned certifies that a true and correct copy of the foregoing

 3   Request to Stay was caused to be served on counsel of record as noted below:

 4   United States District Court Clerk’s Office     Q   By electronic filing
     Western District of Washington
 5   700 Stewart Street, Suite 2310
     Seattle, WA 98101
 6
     Davis Wright Tremaine, LLP                      Q By First Class U.S. Mail
     Attorneys for Insomniac
 7
     Attn: Jaime D. Allen & Jennifer K. Chung        Q By Email
     920 Fifth Avenue, Suite 3300
 8
     Seattle, WA 98104-1610
     jaimedrozdallen@dwt.com;
 9
     jenniferchung@dwt.com
10
           DATED this 20th day of March, 2020.
11

12
                                              _________________________________
13
                                              Allie Burgett
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25   REQUEST TO STAY - 5
